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       All Documents and Communications concerning any meeting, including calls, video calls,

or telec onferenc es, involving or c onc erning Street Relations or Wallac e from May 1, 2024 to

present.

REQUEST FOR PRODUCTION NO. 17:

       All Documents and Communications with Wallace or Street Relations.

REQUEST FOR PRODUCTION NO. 18:

       All Documents and Communic ations from May 1, 2024 through the present concerning

services provided or proposed to be provided by Street Relations or Wallace.

REQUEST FOR PRODUCTION NO. 19:

       All Documents and Communications regarding the decision to hire or work with Freedman

or Liner Freedman Taitelman + Cooley.

REQUEST FOR PRODUCTION NO. 20:

       All Documents and Communications between You and Kjersti Flaa.

REQUEST FOR PRODUCTION NO. 21:

       All Documents and Communications between You and any Content Creator concerning

the Actions, Ms. Lively, Mr. Reynolds, any Wayfarer Defendant, or the Film.




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REQUEST FOR PRODUCTION NO. 22:

       All Documents and Communications concemmg any actual, alleged, or suspected

harassment, discrimination, retaliation, workplace misconduct, or other inappropriate behavior

related to the Film.

REQUEST FOR PRODUCTION NO. 23:

       All Documents and Communications concemmg any actual, alleged, or suspected

harassment, discrimination, retaliation, workplace misconduct, or other inappropriate behavior

related by Baldoni.

REQUEST FOR PRODUCTION NO. 24:

       All Documents and Communications concemmg any actual, alleged, or suspected

harassment, discrimination, retaliation, workplace misconduct, or other inappropriate behavior

related by Heath.

REQUEST FOR PRODUCTION NO. 25:

       Documents, such as phone records, sufficient to show all phone numbers and phone

service providers You used from May 1, 2024, to the present. Non-responsive information may

be redacted.

REQUEST FOR PRODUCTION NO. 26:

       All documents, including mobile phone billing records, sufficient to show the calls You

made or received relating to the allegations in the Lively Complaint from May 1, 2024, to the

present. Non-responsive information may be redacted.




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